Case 2:17-cr-20808-DML-EAS ECF No. 198, PageID.1189 Filed 07/08/24 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

KEVIN SCOTT DOUGLAS,

                       Petitioner,                    Case Number 17-20808
v.                                                    Honorable David M. Lawson

UNITED STATES OF AMERICA,

                  Defendant.
________________________________________/

                  ORDER TRANSFERRING SECOND OR SUCCESSIVE
                   HABEAS PETITION TO THE COURT OF APPEALS

       This matter is before the Court on a motion filed by petitioner Kevin Scott Douglas styled

as a “motion to overturn/resentence.” Douglas pleaded guilty to two counts of conspiracy to

produce child pornography. He was sentenced in September 2018 to concurrent 360-month prison

terms. He did not appeal his conviction or sentence. On August 6, 2020, Douglas filed a motion

under 28 U.S.C. § 2255 to vacate his conviction and sentence. The Court denied that request as

untimely. ECF No. 181. Douglas did not appeal that determination. In his present motion, he

challenges as unconstitutional the statute of his conviction —18 U.S.C. § 2251(a) — on the ground

that it exceeds Congress’s authority to regulate interstate commerce. It appears that he raised this

ground in his previous motion. ECF No. 181, PageID.1125.

       An individual who wants to file a second or successive motion under section 2255 first

must ask the appropriate court of appeals for an order authorizing the district court to consider the

petition. See 28 U.S.C. §§ 2255(h), 2244(b)(3)(A); Stewart v. Martinez-Villareal, 523 U.S. 637,

641 (1998). Congress has vested in the court of appeals a screening function that the district court

would have performed otherwise. Felker v. Turpin, 518 U.S. 651, 664 (1996). When a defendant

files a second or successive motion to vacate his sentence in the district court without
Case 2:17-cr-20808-DML-EAS ECF No. 198, PageID.1190 Filed 07/08/24 Page 2 of 2




preauthorization from the court of appeals, the district court must transfer the motion papers to the

court of appeals. See 28 U.S.C. § 1631 (directing that “[w]henever a civil action is filed in a court

. . . and that court finds that there is a want of jurisdiction, the court shall, if it is in the interest of

justice, transfer such action . . . to any other such court in which the action . . . could have been

brought at the time it was filed”); In re Sims, 111 F.3d 45, 47 (6th Cir. 1997) (holding that “when

a prisoner has sought § 2244(b)(3) permission from the district court, or when a second or

successive petition for habeas corpus relief or § 2255 motion is filed in the district court without §

2244(b)(3) authorization from this court, the district court shall transfer the document to this court

pursuant to 28 U.S.C. § 1631.”).

        The petitioner cannot proceed with his present motion without first obtaining permission

to file a successive motion to vacate from the court of appeals. Therefore, the Clerk of Court must

transfer the motion papers to the court of appeals pursuant to In re Sims and 28 U.S.C. § 1631.

        Accordingly, it is ORDERED that the Clerk of Court TRANSFER the petitioner’s motion

to vacate overturn/resentence (ECF No. 196) to the United States Court of Appeals for the Sixth

Circuit under 28 U.S.C. § 1631.

                                                                   s/David M. Lawson
                                                                   DAVID M. LAWSON
                                                                   United States District Judge

Dated: July 8, 2024




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